                                    EXHIBIT C
                                 (Promissory Note)




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                                                                         EXECUTION VERSION


                                      PROMISSORY NOTE

                                                                                       Canton, Ohio
Principal Amount: $ ________                                                         ________, 2021

         FOR VALUE RECEIVED, the undersigned, The Midwest Data Company, LLC, an Ohio
limited liability company (“Borrower”), hereby, jointly and severally, promises to pay to
Instantiation LLC, a Delaware limited liability company (together with any successors and/or
assigns, “Lender”), the principal amount of ________________ and __/100 Dollars ($________)
or, if less, the aggregate unpaid principal amount of Advances (as defined in the Loan Agreement)
of Lender to Borrower, payable at such times and in such amounts as are specified in the Loan
Agreement.

         The Borrower promises to pay interest on the unpaid principal amount of the Advances
represented by this Note from the date made until such principal amount is paid in full, payable at
such times and at such interest rates as are specified in the Loan Agreement. Demand, diligence,
presentment, protest and notice of non-payment and protest are hereby waived by Borrower, for
itself and its successors and assigns.

        Both principal and interest are payable in United States dollars in immediately available
funds to the Lender, at the Lender’s address set forth in the Loan Agreement or as otherwise
directed by the Lender to the Borrower from time to time.

        This Note is one of the Notes referred to in, and is entitled to the benefits of, the Loan and
Security Agreement, dated as of November 22, 2021 (as the same may be amended, restated,
supplemented or otherwise modified from time to time, the “Loan Agreement”), between
Borrower and Lender. This Note is also entitled to the benefits of the other Loan Documents and
the security provided for thereby or referred to therein. Capitalized terms used herein without
definition are used as defined in the Loan Agreement.

        The Loan Agreement, among other things, (a) provides for the Advances made by Lender
to Borrower to be evidenced by this Note, (b) contains provisions for acceleration of the maturity
of the unpaid balance of the principal amount of the Advances evidenced by this Note, together
with all accrued and unpaid interest and premium thereon and any costs, expenses, fees or similar
amounts owing, in the manner, upon the conditions and with the effect provided in the Loan
Agreement and the other Loan Documents upon the happening of certain stated events and (c)
provides for prepayments on account of the principal hereof prior to the maturity of the Advances
evidenced by this Note upon the terms and conditions specified in the Loan Agreement.

       This Note is a Loan Document, is entitled to the benefits of the Loan Documents and is
subject to certain provisions of the Loan Agreement, including Section 21 (Governing Law;
Waiver of Jury Trial) thereof.

      This Note is a registered obligation, transferable only pursuant to the terms of the Credit
Agreement, and no assignment hereof shall be effective until recorded therein.

       Section 9.14 of the APA is incorporated herein mutatis mutandis.


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        IN WITNESS WHEREOF, Borrower has caused this Note to be executed and delivered by
its duly authorized officer as of the day and year and at the place set forth above.




                                         THE MIDWEST DATA COMPANY LLC


                                         By:
                                         Name:
                                         Title:




                    [DIP PROMISSORY NOTE SIGNATURE PAGE]

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